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                                                                   1   John D. Tennert III (SBN 11728)
                                                                       Wade Beavers (SBN 13451)
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                                                                   3
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                                                                       Attorneys for Defendant GR US Licensing, LP
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                                                                                                        UNITED STATES DISTRICT COURT
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                                                                                                               DISTRICT OF NEVADA
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                                                                       ROWEN SEIBEL, an individual,                           Case No. 2:21-cv-00668-JCM-VCF
                                                                  11
                                                                       Plaintiff,                              STIPULATION AND ORDER TO EXTEND
                                                                  12                                           TIME TO FILE REPLY IN SUPPORT OF
                        Tel: (775) 788-2200 Fax: (775) 786-1177




                                                                       vs.                                     GR US LICENSING, LP’S MOTION TO
FENNEMORE CRAIG, P.C.




                                                                  13                                           DISMISS FIRST AMENDED COMPLAINT
                                 7800 Rancharrah Pkwy




                                                                       GR US LICENSING, LP, a Delaware limited (FIRST REQUEST)
                                   Reno, Nevada 89511




                                                                  14   partnership;

                                                                  15   Defendants.

                                                                  16              Pursuant to LR IA 6-1, Plaintiff Rowen Seibel (“Seibel”) and Defendant GR US Licensing
                                                                  17   LP (“GRUS”) (collectively, the “Parties”) stipulate and agree as follows:
                                                                  18              1.     On November 2, 2021, Seibel filed his First Amended Complaint (ECF No. 32).
                                                                  19              2.     On November 16, 2021, GRUS filed its Motion to Dismiss First Amended Complaint
                                                                  20   (ECF No. 34) (“Motion to Dismiss”).
                                                                  21              3.     On November 30, 2021, Seibel filed his Response to Defendant GR US Licensing,
                                                                  22   LP’s Motion to Dismiss First Amended Complaint (ECF No. 35).
                                                                  23              4.     Pursuant to LR 7-2(b), the deadline for GRUS to file and serve its reply in support
                                                                  24   of the Motion to Dismiss is December 7, 2021.
                                                                  25              5.     The Parties stipulate that the deadline for GRUS to file its reply in support of the
                                                                  26   Motion to Dismiss shall be extended from December 7, 2021 to December 21, 2021.
                                                                  27              6.     Good cause exists to extend the briefing schedule on GRUS’ Motion to Dismiss as
                                                                  28   set forth herein to allow GRUS adequate time to fully and adequately brief the arguments therein.

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                                                                   1              7.    This is the first request to extend the time for GRUS to file its reply in support of its

                                                                   2   Motion to Dismiss. This extension is sought in good faith and not for purposes of unduly delaying

                                                                   3   discovery or trial.

                                                                   4              IT IS SO STIPULATED.

                                                                   5   DATED: December 2, 2021.                            DATED: December 2, 2021.

                                                                   6   BAILEY KENNEDY                                      FENNEMORE CRAIG, P.C.
                                                                   7

                                                                   8   By: /s/ Joshua P. Gilmore                           By: /s/ John D. Tennert
                                                                            John R. Bailey                                     John D. Tennert, III
                                                                   9        Dennis L. Kennedy                                  Wade Beavers
                                                                            Joshua P. Gilmore
                                                                  10        Paul C. Williams
                                                                  11
                                                                            Attorneys for Rowen Seibel                          Attorneys for GR US Licensing LP
                                                                  12
                        Tel: (775) 788-2200 Fax: (775) 786-1177
FENNEMORE CRAIG, P.C.




                                                                  13              IT IS SO ORDERED.
                                 7800 Rancharrah Pkwy
                                   Reno, Nevada 89511




                                                                  14              Dated this ___ day3,of
                                                                                        December         _____________________, 2021.
                                                                                                       2021.

                                                                  15

                                                                  16
                                                                                                                       DISTRICT COURTDISTRICT
                                                                                                                       UNITED STATES  JUDGE JUDGE
                                                                  17

                                                                  18   Respectfully submitted by:

                                                                  19   FENNEMORE CRAIG, P.C.

                                                                  20   By: /s/John D. Tennert
                                                                            John D. Tennert, III
                                                                  21        Wade Beavers
                                                                            7800 Rancharrah Parkway
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                                                                  23
                                                                            Attorneys for GR US Licensing LP
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